                                                                       Motion (57) is DENIED AS MOOT.



                          UNITED STATES DISTRICT COURT                              Chief US District Judge
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

 UNITED STATES OF AMERICA                          )
                                                   )
                 v.                                )      No. 3:21-cr-00264
                                                   )
 BRIAN KELSEY                                      )
                                                   )
                                                   )
                       Defendant.                  )


  JOINT MOTION TO EXTEND THE DEADLINE TO FILE MOTIONS RELATED TO
                            RULE 404(B)

       The United States of America, by and through the undersigned attorneys, and Brian

Kelsey, by and through his counsel of record, respectfully move this Court to extend the deadline

by which to file Motions related to Rule 404(b) from September 7, 2022, to September 14, 2022.

In support thereof, Paul Bruno, counsel for Mr. Kelsey, is currently in a trial. The United States

would like to confer with Mr. Bruno prior to filing, and he is unavailable until after closings are

completed.



                                                       Respectfully submitted,

                                                       MARK H. WILDASIN
                                                       United States Attorney

                                             By:       /s/ Amanda Klopf____
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